[1] From an examination of the clerk's transcript, prepared in accordance with the alternative method of appeal, we learn that the plaintiff in this action gave notice of appeal from an adverse judgment and from an order made after judgment denying plaintiff's motion to vacate and set aside the same. The latter motion appears to have been, in effect, a motion for a new trial, and, so considered, the order denying the same is not appealable. The clerk's transcript and reporter's transcript were filed in this court on November 7, 1917, and thereafter stipulations were made between the parties extending time to appellant to file his brief to August 15, 1918. Appellant filed no brief and did not appear at the time set for oral argument. No reason is presented to us, therefore, to show that the judgment as entered by the trial court was in anywise defective, erroneous, or improper.
The appeal from the order is dismissed; the judgment is affirmed.
Conrey, P. J., and Shaw, J., concurred. *Page 584 